                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF TENNESSEE
                                     AT KNOXVILLE

  ROBERT T. STOOKSBURY, JR.,                      )
                                                  )
                Plaintiff,                        )
                                                  )
  v.                                              )      No.: 3:09-CV-498
                                                  )            (VARLAN/GUYTON)
  MICHAEL L. ROSS, et al.,                        )
                                                  )
                Defendants.                       )


                                          ORDER

         This civil matter is before the Court on the Report and Recommendation (the

  “R&R”) entered by United States Magistrate Judge H. Bruce Guyton on July 10, 2012

  [Doc. 649]. In the R&R, Magistrate Judge Guyton recommended the following: that

  Plaintiff’s Motion for Award of Attorneys’ Fees and Costs Pursuant to 18 U.S.C. §

  1964(c) [Doc. 399] be granted in part and denied in part; and that the Court enter an order

  awarding plaintiff $550,000.00, representing an award of reasonable fees and expenses

  pursuant to RICO, 18 U.S.C. § 1964(c). There have been no timely objections to the

  R&R, and enough time has passed since the filing of the R&R to treat any objections as

  having been waived. See 28 U.S.C. § 636(b)(1); Fed. R. Civ. P. 72(b).

         After a careful review of the matter, the Court is in agreement with Magistrate

  Judge Guyton’s recommendations, which the Court adopts and incorporates into its

  ruling. Accordingly, the Court ACCEPTS IN WHOLE the R&R [Doc. 649] and the

  Court’s rulings are as follows:




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        (1)   Plaintiff’s Motion for Award of Attorneys’ Fees and Costs Pursuant to 18

              U.S.C. § 1964(c) [Doc. 399] is GRANTED in part and DENIED in part;

              and

        (2)   It is ORDERED that plaintiff be AWARDED total of $550,000.00, such

              amount presenting an award of reasonable fees and expenses pursuant to

              RICO, 18 U.S.C. § 1964(c).

        IT IS SO ORDERED.



                                         s/ Thomas A. Varlan
                                         UNITED STATES DISTRICT JUDGE




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